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IN THE UNITED sTATEs DISTRICT coURT H£DWLM _~_M_pg
FOR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 05 AUB 29 ppg 2,¢*9
was 11 501 110

UNITED STATES oF AMERICA, CEH£USDSUETGU§U
Plaintiff, WDOFTN'WMPHS
V_ No. 04-20032 Ml
MICHAEL A. sHORT,

Defendant.

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ORDEEZ]DENYIBK}]JEFENDANT’S DMFTION TO BKHJIFY SEETFENCE

 

This cause is before the Court on Defendant's Motion to Modify
Sentence filed July 29, 2005, and Defendant's Amended Motion to
Modify Sentence filed on August 17, 2005. The United States
responded to Defendant’s motion by memoranda dated August 24,

2005.1

 

1 A.three-count indictment against Defendant Short was filed on.January

27, 2004. Mr. Short plead guilty to Counts 2 and 3 (aiding and abetting in an
attempt to possess in excess of 50 grams of methamphetamine and possession with
intent to distribute approximately 79 tablets of Ecstacy) on May 13, 2004. In
the Plea Agreement, the parties specifically agreed to an amount of
methamphetamine and a specific number of tablets of Ecstacy and further agreed
that the defendant would receive a two-point enhancement pursuant to Section
2D1.1 (b)(l) of the United States Sentencing Guidelines. Defendant Short was
sentenced on January 21, 2005, to 24 months incarceration with a recommendation
that the Defendant be allowed to participate in a 500 hour drug rehabilitation
program. The Judgment as to Mr. Short was docketed on January 25, 2005.

On February 16, 2005, Mr. Short was ordered to surrender to the Federal
Prison Camp in Montgomery Alabama on March 31, 2005. Defendant filed no notice
of appeal in the case nor has the Government sought any modification of the
Judgment.

Thw's document entered on the docket shea i compliance
with Ru|s 5.-'5 and/or 32(b) FRCrP nn 3 'Z 125

 

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For the reasons stated in the response of the United States to
Defendant's Motion to Modify Sentence, Defendant’s motions are

hereby DENIED.

SO ORDERED this tjqq day of August, 2005.

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J N PHIPPS MCCALLA

 

ITED STATES DISTRICT JUDGE

  

UNITED STESAT DISTRIC COURT - WESRTE DISTRICT TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 98 in
case 2:04-CR-20032 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

